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AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
                 RYAN ENOS
                      (Defendant’s Name)                                  Criminal Number: 1:00CR05455-003


                                                                          Mike Berdinella
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge(s) One, Two and Three as alleged in the violation petition filed on 2/3/2005 .
[]  was foun d in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defend ant is guilty of the following violation(s):

Violation Numb er                    Nature of Violation                                     Date Violation Occurred
One                                  New Law Violation                                       Dec. 14, 2004
Two                                  Failure to Follow the Instructions of the               last date: Jan. 25, 2005
                                     Probation Officer
Three                                Failure to Report to Drug Testing                       last date: Jan. 26, 2005

The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on July 22, 2002 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       Charg e(s)       is/are dismissed.


        IT IS FURTHER ORD ERED that the defendant shall notify the United States Attorney for this district within 30
days of an y change of na m e, res idence, or m ailing ad dres s until all fines , restitution , cos ts, and sp ecial assess m ents
imposed by this judgment are fully paid.

                                                                                             April 18, 2005
                                                                                    Date of Imposition of Sentence

                                                                                       /s/ OLIVER W . WAN GER

                                                                                      Signature of Judicial Officer


                                                                         OLIVER W. WANGER , United States District Judge
                                                                                 Nam e & Title of Judicial Officer

                                                                                                 April 21, 2005

                                                                                                     Da te
                   Case 1:00-cr-05455-OWW Document 145 Filed 04/22/05 Page 2 of 2
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:              1:00CR05455-003                                                                 Judgment - Page 2 of 2
DEFENDANT:                RYAN ENOS



                                                        IMPRISONMENT
         The defendan t is hereby comm itted to the custody of the United States B ureau of Prisons to be imprisone d for a
total term of 9 months .




[]      The court makes the following recomm endations to the Bureau of Prisons:




[U]     The defendant is rem anded to the custo dy of the U nite d State s M arshal.


[]      Th e de fendan t shall surren der to the U nited S tates Ma rshal for this district.
        [ ] at     on     .
        [ ] as notified by the Un ited Sta tes Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the Un ited Sta tes Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no s uch institution has bee n de signated , to the U nited S tates Ma rshal for this district.


                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                                         By
                                                                                                  Deputy U.S. Marshal
